Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Diocese of Buffalo, N.Y.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  795 Main Street
                                  Buffalo, NY 14203
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Erie                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    The Diocese of Buffalo, N.Y.                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8131

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   The Diocese of Buffalo, N.Y.                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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                                    Description: Main Document , Page 3 of 38
Debtor    The Diocese of Buffalo, N.Y.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 28, 2020
                                                  MM / DD / YYYY


                             X   /s/ Charles Mendolera                                                    Charles Mendolera
                                 Signature of authorized representative of debtor                         Printed name

                                         Executive Director of Financial
                                 Title   Administration




18. Signature of attorney    X   /s/ Stephen A. Donato                                                     Date February 28, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen A. Donato
                                 Printed name

                                 Bond, Schoeneck & King, PLLC
                                 Firm name

                                 One Lincoln Center
                                 Syracuse, NY 13202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (315) 218-8000                Email address      sdonato@bsk.com

                                 101522 (NDNY) NY
                                 Bar number and State




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A
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M
a
x




                     360 PSG.com
                     455 Commerce Drive, Suite 3
                     Amherst, NY 14228


                     Alba House Communications
                     2187 Victory Boulevard
                     Staten Island, NY 10314


                     Alba Quiroa
                     c/o NYS Division of Human Rights
                     65 Court Street, #506
                     Buffalo, NY 14202


                     Albert Turano
                     c/o Brown Chiari, LLP
                     Attn: David W. Olson, Esq.
                     2470 Walden Avenue
                     Buffalo, NY 14225


                     Alena Piccillo
                     c/o The Stamm Law Firm
                     Attn: Brian G. Stamm, Esq.
                     1127 Wehrle Drive, #100
                     Williamsville, NY 14221-5430


                     Allstate Sign and Plaque
                     70 Burt Drive
                     Deer Park, NY 11729-5744


                     ALPS Elevator Inspection Services, Inc.
                     P.O. Box 605
                     Buffalo, NY 14207-0605


                     Alviti Creations, Inc
                     385 John L Ditsch Boulevard
                     Attleboro Falls, MA 02763


                     Amanda Paradowski
                     493 Kohl Street
                     North Tonawanda, NY 14120


                     American Federation of Musicians
                     49988 Dingle Street
                     Ontario
                     N5H 2R1
                     CANADA

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                 Amherst Alarm, Inc.
                 2361 Wehrle Drive
                 Amherst, NY 14221


                 Amherst Alarm, Inc.
                 435 Lawrence bell Drive
                 Amherst, NY 14221


                 Angelus Press
                 2915 Forest Avenue
                 Kansas City, MO 64109


                 Annin
                 P.O. Box 970076
                 Boston, MA 02297-0076


                 Arthur J. Gallagher Risk Management
                   Services- White Plains
                 2 Westchester Park Dr.
                 White Plains, NY 10604


                 Artistic Manufacturing Corp.
                 602 Third Street SW
                 Altoona, IA 50009


                 Artye/Grosse
                 200 South Avenue 66
                 Los Angeles, CA 90042


                 AT&T
                 P.O. Box 6463
                 Carol Stream, IL 60197


                 Atwood-Hamlin Mfg.
                 5614 Kenosha Street
                 P.O. Box 578
                 Richmond, IL 60071


                 Autom
                 1013 Veterans Drive
                 Lewisburg, TN 37091


                 Ave Maria Press
                 P.O. Box 428
                 Notre Dame, IN 46556

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                Description: Main Document , Page 6 of 38
                 B & H Photo
                 420 Ninth Avenue
                 New York, NY 10001


                 Bank Direct
                 150 North Field Drive
                 Suite 190
                 Lake Forest, IL 60045


                 Barton Cotton, RPS
                 Processing Center
                 P.O. Box 471380
                 Tulsa, OK 74174-1380


                 Beacon Builders/Allied
                 P.O. Box 418527
                 Boston, MA 02241-8527


                 Beacon Roofing Supply
                 P.O. Box 418527
                 Boston, MA 02241-8527


                 Bee Group Newspapers
                 5564 Main Street
                 Williamsville, NY 14221-5410


                 Beverly Matisz
                 c/o Ramos & Ramos
                 Attn: Joseph L. Nicastro, Esq.
                 37 Franklin Street, #1000
                 Buffalo, NY 14202


                 Bishop Timon High School
                 601 McKinley Parkway
                 Buffalo, NY 14220


                 Bison Elevator Service, Inc.
                 Ellicott Square Buiding
                 295 Main Street, #932
                 Buffalo, NY 14203


                 Blessed Sacrament RC Church
                 1035 Delaware AVenue
                 Buffalo, NY 14209



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                Description: Main Document , Page 7 of 38
                 Bliss Manufacturing Co.
                 50 Bacon Street
                 P.O. Box 3440
                 Pawtucket, RI 02861-0998


                 BPK Enterprises, Inc.
                 89 Brandel Avenue
                 Lancaster, NY 14086


                 Buffalo Material Handling
                 125 Taylor Drive
                 Depew, NY 14043


                 Buffalo Water
                 281 Exchange Street
                 Buffalo, NY 14204


                 Buffalo Water
                 P.O. Box 18
                 Buffalo, NY 14240-0018


                 Butlak Ornamental Iron
                 513 Commercial Street
                 Farnham, NY 14061


                 C S Behler, Inc.
                 203 St. Mary's Street
                 Lancaster, NY 14086


                 Camcor, Inc.
                 2273 South Church Street
                 P.O. Box 1899
                 Burlington, NC 27216-1899


                 Carmelite Monastery
                 75 Carmel Road
                 Buffalo, NY 14214


                 Carolina Wholesale
                 Office Machine Company, Inc.
                 P.O. Box 60790
                 Charlotte, NC 28260




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                Description: Main Document , Page 8 of 38
                 Cascades Recovery U.S., Inc.
                 3241 Walden Avenue
                 Depew, NY 14043


                 Cathedral Art Medal Co., Inc.
                 P.O. Box 6146
                 Providence, RI 02940-6146


                 Cathedral Candle Co.
                 510 Kirkpatrick Street
                 Syracuse, NY 13208-2100


                 Catholic Academy of West Buffalo
                 1069 Delaware Avenue
                 Buffalo, NY 14209


                 Catholic Book Publishing
                 77 West End Road
                 Totowa, NJ 07512


                 Catholic Cemeteries of the Roman
                   Catholic Diocese of Buffalo, Inc.
                 4000 Elmwood Avenue
                 Buffalo, NY 14217


                 Catholic Purchasing Services
                 580 Washington Street
                 Newton, MA 02458


                 Cavanagh Company
                 610 Putnam Pike
                 Greenville, RI 02828


                 CDW Computer Centers, Inc.
                 75 Remittance Drive
                 Suite 1515
                 Chicago, IL 60675-1515


                 Chagall Design Limited
                 20625 Belshaw Avenue
                 Carson, CA 90746


                 Char-Lite Products, Inc.
                 2111 E. 11th Street
                 Tulsa, OK 74104

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                 Chelus, Herdzik, Speyer & Monte PC
                 438 Main Street
                 Buffalo, NY 14202


                 Christ the King Parish
                 30 Lamarck Drive
                 Snyder, NY 14226


                 Christ the King Seminary
                 711 Knox Road
                 East Aurora, NY 14052


                 Chudy Paper
                 2615 Walden Avenue
                 Cheektowaga, NY 14225


                 Church of the Annunciation
                 7580 Clinton Street
                 Elma, NY 14059


                 Cintas
                 160 James E Casey Drive
                 Buffalo, NY 14206


                 Citrix Systems, Inc.
                 851 W. Cypress Creek Road
                 Fort Lauderdale, FL 33309-2009


                 City of Olean
                 P.O. Box 668
                 Olean, NY 14760


                 Cleve-Hill Tire and Auto
                 1050 Main Street
                 Buffalo, NY 14209


                 Copier Fax Business Technologies, Inc.
                 465 Endicott Street
                 Buffalo, NY 14203


                 Corey Auto Sales, Inc.
                 5230 Transit Road
                 Depew, NY 14043



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                 Crystal Printing
                 P.O. Box 561
                 Buffalo, NY 14225-0561


                 D.P. Murphy Co., Inc.
                 945 Grand Boulevard
                 Deer Park, NY 11729-5707


                 Dadant
                 51 S. Second Street
                 Hamilton, IL 62341-1399


                 Davis Electrical Supply
                 24 Anderson Road
                 Buffalo, NY 14225


                 DC Supplies
                 7460 Warren Parkway, Suite 100
                 Frisco, TX 75034


                 De Lage Landen Financial Services, Inc.
                 1111 Old Eagle School Road
                 Wayne, PA 19087


                 Dell Financial Services
                 Payment Processing Center
                 P.O. Box 5275
                 Carol Stream, IL 60197-5275


                 Delta Development of Western NY, Inc.
                 525 Washington Street
                 Buffalo, NY 14203


                 Denise York
                 113 Bush Gardens
                 Alden, NY 14004


                 Devon Trading Corp.
                 5 Fairfield Road
                 North Caldwell, NJ 07006-4732




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               Description: Main Document , Page 11 of 38
                 Dewanda Loatman
                 c/o Andrews Bernstein Maranto & Nicotra
                 Attn: Robert J. Maranto, Jr., Esq.
                 420 Frankliln Street
                 Buffalo, NY 14202


                 Diocesan Cemeteries
                 4000 Elmwood Avenue
                 Buffalo, NY 14217


                 Dival Safety Equipment, Inc.
                 1721 Niagara Street
                 North Buffalo, NY 14207


                 Dominican Nuns of the Perpetual Rosary
                 335 Doat Street
                 Buffalo, NY 14211


                 Donald Weigel
                 4189 Foxwood Lane
                 Williamsville, NY 14221


                 Downey-Goodlein Elevator Corp.
                 12 Pixley Industrial Pkwy.
                 Rochester, NY 14624


                 Doyle Security Systems
                 81 Benbro Drive
                 Buffalo, NY 14225


                 Eagle Systems, Inc.
                 2421 Harlem Road
                 Buffalo, NY 14225


                 Eaton Office Supply
                 180 John Glenn Drive
                 Amherst, NY 14228-2292


                 Elbers Landscape Service, Inc.
                 2900 Main Street
                 Buffalo, NY 14214




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                 Emkay Candle Company
                 290 Elwood Davis Road
                 Suite 300
                 Liverpool, NY 13088


                 Empire Bronze Corporation
                 1130 North Ridge Avenue
                 Lombard, IL 60148


                 Enterprise Rent-A-Car
                 P.O. Box 843829
                 Kansas City, MO 64184-3829


                 Erie County Water Authority
                 295 Main Street
                 Room 350
                 Buffalo, NY 14240


                 Erie County Water Authority
                 P.O. Box 5148
                 Buffalo, NY 14240-5148


                 Evolve Technology Services
                 501 John James Audubon Parkway
                 Suite 201
                 Amherst, NY 14228


                 F & T Snowplowing & Removal, Inc.
                 118 Dubonnet Drive
                 Depew, NY 14043


                 F. C. Ziegler Co.
                 2111 E. 11th Street
                 Tulsa, OK 74104


                 F. J. Remey Co., Inc.
                 121 Willis Avenue
                 P.O. Box 589
                 Mineola, NY 11501-0589


                 Fatouma Mohamed
                 c/o Lipsitz Green Scime Cambria, LLP
                 Attn: Michael P. Steuermer, Esq.
                 42 Delaware Avenue, #120
                 Buffalo, NY 14202


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                 FedEx Kinkos
                 P.O. Box 672085
                 Dallas, TX 75267-2085


                 FedEx Shipping
                 P.O. Box 371461
                 Pittsburgh, PA 15250-7461


                 Fireside Catholic Publishing
                 P.O. Box 780189
                 Wichita, KS 67278-0189


                 Flynn Manufacturing Co.
                 7166 North Saginaw Street
                 Mount Morris, MI 48458


                 Forum Communications Printing
                 4601 16th Avenue North
                 Fargo, ND 58107-2965


                 Franklin X McCormick, Inc.
                 7402 W. Becher Street
                 West Allis, WI 53219


                 Gallagher Elevator Company, Inc.
                 135 South Division Street
                 Buffalo, NY 14203


                 Ghent Manufacturing Inc.
                 2999 Henkle Drive
                 Lebanon, OH 45036


                 Globalquest Solutions
                 2813 Wehrle Drive, Suite 3
                 Williamsville, NY 14221


                 Good Shepard
                 5442 Tonawanda Creek Road
                 North Tonawanda, NY 14120


                 Guard Contracting Corporation
                 3755 River Road
                 Tonawanda, NY 14150



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                 Harbro Church Arts, Inc.
                 231 Herbert Avenue
                 Box 776
                 Closter, NJ 07624-0776


                 Helen Yood
                 c/o NYS Division of Human Rights
                 65 Court Street, #506
                 Buffalo, NY 14202


                 Heritage Pipe Organs
                 1372 Clinton Street
                 Buffalo, NY 14206


                 Holy Trinity Parish
                 211 Eagle Street
                 Medina, NY 14103


                 Hon Company
                 c/o Eaton Office Supply
                 200 Oak Street
                 Muscatine, IA 52761


                 I.D. Booth, Inc.
                 620 William Street
                 P.O. Box 579
                 Elmira, NY 14902


                 Ignatius Press
                 P.O. Box 1339
                 Fort Collins, CO 80522


                 IMG, Inc. f/k/a Keystone Film Production
                 825 Main Street
                 Buffalo, NY 14203


                 Immaculate Conception
                 6 Maple Avenue
                 Wellsville, NY 14895-1594


                 Imperial Woodworks, Inc.
                 P.O. Box 7835
                 Waco, TX 76714-7835




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                 J. S. Paluch Co., Inc.
                 World Library Publications
                 P.O. Box 2703
                 Schiller Park, IL 60176


                 Jack W Hunt & Associates, Inc.
                 1120 Liberty Building
                 424 Main Street
                 Buffalo, NY 14202


                 James Granville
                 c/o Lipsitz Green Scime Cambria, LLP
                 Attn: Thomas Mercure, Esq.
                 42 Delaware Avenue, #120
                 Buffalo, NY 14202


                 James Moroney, Inc.
                 670 East Airy Street
                 Suite 1
                 Norristown, PA 19401


                 Jeffery Polisoto
                 c/o Andrews Bernstein Maranto & Nicotra
                 Attn: Robert J. Maranto, Jr., Esq.
                 420 Franklin Street
                 Buffalo, NY 14202


                 Jennifer A. Mitchell, LPC
                 410 E. Taylor Street
                 Suite H
                 Griffin, GA 30224


                 Jennifer Sky
                 c/o John J. DelMonte, Esq.
                 2706 Pine Avenue
                 Niagara Falls, NY 14301


                 Jeweled Cross Company, Inc.
                 811 Park East Drive
                 Woonsocket, RI 02895


                 Jodi Martin
                 c/o Canter, Lukasik & Panepinto, P.C.
                 Attn: Michael V. Booth, Esq.
                 1600 Main Place Tower
                 Buffalo, NY 14202


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               Description: Main Document , Page 16 of 38
                 John Kovach
                 c/o Lipsitz Green Scime Cambria, LLP
                 Attn: William P. Moore, Esq.
                 42 Delaware Avenue, #120
                 Buffalo, NY 14202


                 John Scholl
                 The Diocese of Buffalo, N.Y.
                 795 Main Street
                 Buffalo, NY 14203


                 Johnson Controls Fire Protection LP
                 6850 Main Street, Suite 3
                 Williamsville, NY 14221


                 Justin Steeg
                 767 Ridge Road
                 Buffalo, NY 14218


                 Karima Dunston
                 c/o Gelber & O'Connell, LLC
                 Attn: Kristopher A. Schwarzmueller, Esq
                 6512 Main Street
                 Buffalo, NY 14221


                 Kathryn Maraszek
                 120 Knox Road
                 East Aurora, NY 14052


                 Katie Prejean
                 817 5th Street
                 Lake Charles, LA 70601


                 Kemco Sales, LLC
                 119 Despatch Drive
                 East Rochester, NY 14445


                 KFI Seating
                 P.O. Box 3622
                 1533 Bank Street
                 Louisville, KY 40201-3622


                 Koley's
                 2951 Harney Street
                 Omaha, NE 68131


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                 Kone Inc.
                 10 Pixley Industrial Pkwy.
                 Rochester, NY 14624


                 Krueger International
                 P.O. Box 204576
                 Dallas, TX 75320-4576


                 Latina Boulevard Foods
                 1 Scrivner Drive
                 Suite 1
                 Cheektowaga, NY 14227


                 Liguori
                 Attn: Diana Potts #802210
                 One Liguori Drive
                 Liguori, MO 63057


                 Linstar
                 430 Lawrence Bell Drive, Suit e1
                 Buffalo, NY 14221-7085


                 Liturgy Training Publications
                 3949 South Racine Avenue
                 Chicago, IL 60609


                 Loyola Press
                 P.O. Box 6692
                 Carol Stream, IL 60197-6692


                 Lucy Ippolito
                 c/o Law offices of Robert Berkun
                 Attn: Robert D. Berkun, Esq.
                 350 Main Street, Suite 2150
                 Buffalo, NY 14202


                 Ludlow Composites Corp.
                 P.O. Box 771956
                 Detroit, MI 48277-1956


                 Luis Molina Acedo, S.A.
                 Artistic Silver
                 Justo Dorado, 12
                 28040 Madrid
                 SPAIN


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                 Lux Mundi
                 1595B Ocean Avenue
                 Suite 12
                 Bohemia, NY 11716


                 Luz M. Ramos
                 2 Kirby Avenue
                 Buffalo, NY 14218


                 LW Graphics
                 2175 Staley Road
                 Grand Island, NY 14072


                 M&T Bank
                 One M&T Plaza
                 Buffalo, NY 14203


                 M&T Bank
                 c/o Hodgson Russ, LLP
                 Attn: Garry M. Graber, Esq.
                 140 Pearl Street, Suite 100
                 Buffalo, NY 14202


                 MailFinance
                 478 Wheelers Farms Road
                 Milford, CT 06461


                 Main Ford General Supply
                 366 Lyell Avenue
                 Rochester, NY 14606


                 Malhame Company
                 180 Orville Drive
                 Bohemia, NY 11716


                 Malhame Vestment Company
                 290 Elwood Davis Road
                 Suite 300
                 Liverpool, NY 13088


                 Marian Equils
                 c/o Viola Cummings & Lindsay
                 Attn: Robert Viola, Esq.
                 770 Main Street
                 Niagara Falls, NY 14301


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               Description: Main Document , Page 19 of 38
                 Mary Beth McCormick,, LMHC
                 713 Lake Street
                 Angola, NY 14006


                 Mary Ciulla
                 c/o Cellino & Barnes
                 Attn: Richard P. Amico, Esq.
                 350 Main Street, Suite 2500
                 Buffalo, NY 14202


                 Mary Lynch
                 c/o Farizzi & Barr, P.C.
                 Attn: Paul K. Barr, Esq.
                 2303 Pine Avenue
                 Niagara Falls, NY 14301


                 Mary Palmer
                 6188 Keller Avenue
                 Newfane, NY 14108


                 Matthew Kandefer Inc.
                 P.O. Box 1046
                 Tonawanda, NY 14151


                 McVan Company
                 35 Frank Mossberg Drive
                 Attleboro, MA 02703


                 MDS
                 P.O. Box 572152
                 Tarzana, CA 91357


                 Metlife
                 P.O. Box 8500-3895
                 Philadelphia, PA 19178-3895


                 Michael Saltarelli
                 c/o St. Francis of Assisi
                 144 Broad Street
                 Tonawanda, NY 14150


                 Monastery Icons
                 P.O. Box 1429
                 West Chester, OH 45071-1429



Case 1-20-10322-CLB, Doc 1, Filed 02/28/20, Entered 02/28/20 07:17:28,
               Description: Main Document , Page 20 of 38
                 Morgan Services, Inc.
                 325 Louisiana Street
                 Buffalo, NY 14204-2508


                 N.A.C. Limited
                 Snowplowing Services
                 111 Fire Tower Road
                 Tonawanda, NY 14150


                 National Church Goods Assoc.
                 800 Roosevelt Road
                 Building C, Suite 312
                 Glen Ellyn, IL 60137


                 National Fuel
                 409 Main Street
                 Buffalo, NY 14203


                 National Fuel
                 P.O. Box 371835
                 Pittsburgh, PA 15250-7835


                 National Fuel Gas Distribution Corp.
                 6363 Main Street
                 Wiliamsville, NY 14221


                 National Fuel Gas Distribution Corp.
                 6363 Main Street
                 Williamsville, NY 14221


                 National Grid
                 300 Erie Boulevard West
                 Syracuse, NY 13202


                 National Grid
                 P.O. Box 11742
                 Newark, NJ 07101-4742


                 National Public Seating Corp.
                 149 Entin Road
                 Clifton, NJ 07014


                 Nelson Fine Art & Gifts
                 980 Lincoln Avenue
                 Steubenville, OH 43952

Case 1-20-10322-CLB, Doc 1, Filed 02/28/20, Entered 02/28/20 07:17:28,
               Description: Main Document , Page 21 of 38
                 Network of Religious Communities
                 c/o Rev. Dr. G. Standord Bratton
                 1272 Delaware Avenue
                 Buffalo, NY 14209-2401


                 New York State Catholic Conference
                 465 State Street
                 Albany, NY 12203-1004


                 NewGeneration Software, Inc.
                 3835 North Freeway Boulevard, Suite 200
                 Sacramento, CA 95834


                 Newton Distributing Co., Inc.
                 245 West Distributing Company
                 Natick, MA 01760


                 Niagara Falls Water Board
                 745 Main Street
                 Niagara Falls, NY 14302


                 Niagara Falls Water Board
                 P.O. Box 1950
                 Niagara Falls, NY 14302-1950


                 North West Bank
                 P.O. Box 128
                 Warren, PA 16365


                 NYS Office of Parks, Recreation &
                   Historic Preservation
                 625 Broadway
                 Albany, NY 12207


                 NYSEG
                 P.O. Box 5240
                 Binghamton, NY 13902


                 NYSEG
                 P.O. Box 847812
                 Boston, MA 02284-7812


                 Oasis Property Service LLC
                 1035 New Road
                 West Amherst, NY 14228

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                 OCO International
                 P.O. Box 376
                 Newport, VT 05855


                 Office Depot
                 P.O. Box 633204
                 Cincinnati, OH 45263-3204


                 Omni Underwriting Managers LLC
                 P.O. Box 62937
                 Virginia Beach, VA 23466


                 One License, LLC
                 7343 S. Mason Avenue
                 Chicago, IL 60638


                 Orbis Books
                 P.O. Box 301
                 Maryknoll, NY 10545-0301


                 Oregon Catholic Press
                 P.O. Box 35147 #3368
                 Seattle, WA 98124-5147


                 Orkin
                 60 Earhart Drive, Suite 1
                 Amherst, NY 14221-7054


                 Orlandi Statuary, Inc.
                 1801 North Central Park Avenue
                 Chicago, IL 60647


                 Orville's Appliances
                 4555 N. Bailey Avenue
                 Amherst, NY 14226


                 Our Lady of Czestochowa RC Church
                 63 Center Avenue
                 North Tonawanda, NY 14120


                 Our Lady of Fatima Shrine
                 P.O. Box 167
                 Youngstown, NY 14174-0167



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                 Our Lady of the Sacred Heart
                 3148 Abbott Road
                 Orchard Park, NY 14127


                 Our Lady of Victory Homes of Charity
                 780 Ridge Road
                 Lackawanna, NY 14218


                 Our Lady of Victory National Shrine
                 767 Ridge Road
                 Lackawanna, NY 14218


                 Our Sunday Visitor Publishing
                 P.O. Box 4013
                 Carol Stream, IL 60197-4013


                 P&A Administrative Services, Inc.
                 17 Court Street
                 Suite 500
                 Buffalo, NY 14202


                 P&A Group
                 17 Court Street
                 Suite 500
                 Buffalo, NY 14202


                 Paetec Communications, Inc.
                 300 Pearl Street
                 Buffalo, NY 14202


                 Paetec Communications, Inc.
                 600 Willowbrook Office Park
                 Fairport, NY 14450


                 Palm Gardens, Inc.
                 P.O. Box 428
                 1224 W. Business Highway 83
                 Alamo, TX 78516


                 Paul Weisenburger
                 105 Bernice Drive
                 Buffalo, NY 14225




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               Description: Main Document , Page 24 of 38
                 Pauline Books and Media
                 50 Saint Paul's Avenue
                 Boston, MA 02130-3491


                 Paulist Press
                 997 Macarthur Boulevard
                 Mahwah, NJ 07430


                 PEMA USA LMII Corporation
                 13422 Clayton Road
                 Suite 201
                 Saint Louis, MO 63131-1008


                 Penco Products
                 P.O. Box 901176
                 Cleveland, OH 44190


                 Pep Industries
                 725 North Wisconson Avenue
                 Villa Park, IL 60181


                 Printery House
                 U.S. Highway 136 at County Road VV
                 P.O. Box 12
                 Conception, MO 64433


                 Progressive Bronze Products
                 3550 Spaulding Avenue
                 Chicago, IL 60618


                 Prosource
                 1667 Military Road, Building #2
                 Kenmore, NY 14217


                 Queen of Angels Parish
                 144 Warsaw Street
                 Lackawanna, NY 14218


                 R. J. Toomey Company
                 1013 Veterans Drive
                 Lewisburg, TN 37091


                 Random House, Inc.
                 P.O. Box 223384
                 Pittsburgh, PA 15251-2384

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               Description: Main Document , Page 25 of 38
                 Religious Art Inc.
                 P.O. Box 458
                 170 Wilbur Place, Suite 400
                 Bohemia, NY 11716


                 RemotePC Division
                 26115 Mureau Road, Suite A
                 Calabasas, CA 91302


                 Republic Services
                 2321 Kenmore Avenue
                 Buffalo, NY 14203


                 Republic Services
                 P.O. Box 9001099
                 Louisville, KY 40290-1099


                 Republic Services
                 2321 Kenmore Avenue
                 Buffalo, NY 14207


                 Republic Services #111
                 P.O. Box 9001099
                 Louisville, KY 40290-1099


                 RGIS, LLC
                 2000 E. Taylor Road
                 Auburn Hills, MI 48326


                 Richard Malone
                 c/o The Diocese of Buffalo, N.Y.
                 795 Main Street
                 Buffalo, NY 14203


                 Riskonnect ClearSight LLC
                 P.O. Box 1500
                 Carol Stream, IL 60132


                 Rita Hayek
                 c/o Garas Law Firm, LLP
                 Attn: John C. Garas, Esq.
                 8203 Main Street, #13
                 Williamsville, NY 14221




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               Description: Main Document , Page 26 of 38
                 Robert Barry
                 c/o Dolce Panepinto
                 Attn: Marc C. Panepinto, Esq.
                 1260 Delaware Avenue
                 Buffalo, NY 14209


                 Robert F. Gaiser, Inc.
                 Box 807
                 292 Main Street
                 Butler, NJ 07405


                 Robert L. Kistler Service Corp.
                 300 Mile Crossing Boulevard
                 Rochester, NY 14624


                 Robert Smith Furniture
                 1013 Veterans Drive
                 Lewisburg, TN 37901


                 Roman Catholic Diocese of Albany
                 40 North Main Avenue
                 Albany, NY 12203


                 Roman, Inc.
                 8027 Solutions Center
                 Chicago, IL 60677-8000


                 Rufus Cole Jr.
                 141 Orleans Street
                 Buffalo, NY 14216


                 Ryan Services, LLC d/b/a Upstate Repairs
                 325 Fletcher Street
                 Tonawanda, NY 14150


                 Sacred Heart of Jesus
                 5337 Genesee Street
                 Bowmansville, NY 14026-1098


                 Safeguard
                 P.O. Box 88043
                 Chicago, IL 60680-1043




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               Description: Main Document , Page 27 of 38
                 Safespan Scaffolding, LLC
                 252 Fillmore Avenue
                 Tonawanda, NY 14150


                 Sage Software, Inc.
                 14855 Collections Center Drive
                 Chicago, IL 60693


                 Saint Mary's Place
                 702 Terrace Heights
                 Winona, MN 55987-1320


                 Samuel's Grande Manor
                 8750 Main Street
                 Williamsville, NY 14221


                 San Francis Imports
                 9265 Borden Avenue
                 Sun Valley, CA 91352


                 Schindler Elevator Corporation
                 80 Curtwright Drive, Suite 3
                 Williamsville, NY 14221-7055


                 School Specialty Inc.
                 32656 Collection Center Drive
                 Chicago, IL 60693


                 Shannon Rounseville
                 c/o Cellino & Barnes
                 Attn: Richard P. Amico, Esq
                 350 Main Street, Suite 2500
                 Buffalo, NY 14202


                 Sheila Dunnigan
                 c/o Law Offices of Robert Berkun
                 Attn: Robert D. Berkun, Esq.
                 350 Main Street, Suite 2150
                 Buffalo, NY 14202


                 Sherwin Williams Co.
                 1470 Main Street
                 Buffalo, NY 14209




Case 1-20-10322-CLB, Doc 1, Filed 02/28/20, Entered 02/28/20 07:17:28,
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                 Singer Company
                 520 South Fulton Street
                 Mount Vernon, NY 10550


                 Slabbinck Art Studio
                 Lieven Bauwensstraat
                 8200 Bruges
                 Belgium


                 Solar Liberty
                 6500 Sheridan Drive
                 Suite 120
                 Buffalo, NY 14221


                 Solivari S. R. L.
                 Via A Corti, 29
                 24126 Bergamo
                 ITALY


                 Sophia Institute Press
                 Box 5284
                 Manchester, NH 03108


                 Spectrum
                 4145 S. Falenburg Road
                 Riverview, FL 33578


                 Spirit Catalog Group
                 3 Blacksmith Lane
                 East Northport, NY 11731


                 Sports Supply Group
                 P.O. Box 660176
                 Dallas, TX 75266-0176


                 SRI Tax Consulting
                 40 Sandelwood Drive
                 Getzville, NY 14068


                 St. Aloysius Parish
                 190 Franklin Street
                 Springville, NY 14141




Case 1-20-10322-CLB, Doc 1, Filed 02/28/20, Entered 02/28/20 07:17:28,
               Description: Main Document , Page 29 of 38
                 St. Andrew's Roman Catholic Church
                 Society of Town of Tonawanda, NY Inc.
                 1525 Sheridan Drive
                 Buffalo, NY 14217


                 St. Anthony of Padua Parish
                 160 Court Street
                 Buffalo, NY 14202


                 St. Benedict Parish
                 1317 Eggert Road
                 Eggertsville, NY 14226


                 St. Benedict Roman Catholic Church
                 1317 Eggert Road
                 Buffalo, NY 14226


                 St. Gianna Moolla Pregnancy Outreach
                 Chautauqua County Satellite
                 32 Moore Avenue
                 Fredonia, NY 14063


                 St. Isaac of Syria Skete
                 25266 Pilgrims Way
                 Boscobel, WI 53805


                 St. John de LaSalle
                 8477 Buffalo Avenue
                 Niagara Falls, NY 14304


                 St. John Kanty Roman Catholic Society
                 101 Swinburne Street
                 Buffalo, NY 14212


                 St. John Neumann
                 P.O. Box 9
                 Strykersville, NY 14145


                 St. John the Baptist School
                 1085 Englewood Avenue
                 Buffalo, NY 14223-1982


                 St. Joseph Parish
                 145 East Main Street
                 Fredonia, NY 14063

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               Description: Main Document , Page 30 of 38
                 St. Leo the Great Parish
                 885 Sweet Home Road
                 Amherst, NY 14226


                 St. Martin of Tours
                 1140 Abbott Road
                 Buffalo, NY 14220-2794


                 St. Mary of the Angels Parish
                 202 S. Union Street
                 Olean, NY 14760


                 St. Paul Parish
                 33 Victoria Boulevard
                 Kenmore, NY 14217


                 St. Peter's Hospital
                 800 Niagara Falls Boulevard
                 North Tonawanda, NY 14120


                 St. Philip the Apostle Parish
                 950 Losson Road
                 Cheektowaga, NY 14227


                 St. Raphael Parish
                 3840 Macklem Avenue
                 Niagara Falls, NY 14305-1897


                 St. Stanislaus Church Society
                 123 Townsend Street
                 Buffalo, NY 14212


                 Stonish's Lawn Care & Snowplowing
                 79 Meyer Road
                 Amherst, NY 14226


                 Sudbury Brass Goods Co., Inc.
                 c/o Christian Brands
                 1013 Veterans Drive
                 Lewisburg, TN 37091


                 Sullivan's Cleaning & Restoration Serv.
                 315 Daniel Drive
                 North Tonawanda, NY 14120


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               Description: Main Document , Page 31 of 38
                 Surdej Web Solutions
                 6 Village View
                 Lancaster, NY 14086


                 Sysco Food Services of Syracuse
                 2508 Warners Road
                 Warners, NY 13164


                 Tan Books and Publishers
                 P.O. Box 410487
                 Charlotte, NC 28241


                 Terra Sancta Guild
                 2031 Stout Drive, Unit 1
                 Warminster, PA 18974


                 The Buffalo News
                 One News Plaza
                 P.O. Box 100
                 Buffalo, NY 14240


                 The Hermitage Art Company, Inc.
                 P.O. Box 2499
                 Anderson, IN 46018


                 The Home Depot
                 Dept. 32-2505082358
                 P.O. Box 78047
                 Phoenix, AZ 85062-8047


                 The Kaufer Co.
                 5201 4th Avenue South
                 Seattle, WA 98108


                 The Leaflet Missal Company
                 976 W. Minnehaha Avenue
                 Saint Paul, MN 55104


                 The Liturgical Press
                 P.O. Box 7500
                 Collegeville, MN 56321-7500




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               Description: Main Document , Page 32 of 38
                 The Province of the Most Holy
                    Name of Jesus, NY
                 5877 Birch Court
                 Oakland, CA 94618


                 ThyssenKrupp Elevator
                 245 Summit Point Drive, Suite 2-B
                 Henrietta, NY 14467


                 Tierranet
                 P.O. Box 502010
                 San Diego, CA 92150-2010


                 Time Warner Cable
                 4145 S. Falkenburg Road
                 Riverview, FL 33578


                 Time Warner Cable
                 P.O. Box 70872
                 Charlotte, NC 28272-0872


                 Time Warner Cable
                 1900 Blue Crest Lane
                 San Antonio, TX 78247


                 Time Warner Cable
                 P.O. Box 177
                 Fredonia, NY 14063-1993


                 Time Warner Cable
                 P.O. Box 4617
                 Carol Stream, IL 60167-4617


                 Time Warner Cable Business Class
                 6601 Kirkville Road
                 East Syracuse, NY 13057


                 Timothy and Kay Zayac
                 c/o Muscato, DiMillo & Vona, LLP
                 Attn: George V.C. Muscato, Esq.
                 107 East Avenue
                 Lockport, NY 14094




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               Description: Main Document , Page 33 of 38
                 Tops Markets LLC
                 6592 Paysphere Circle
                 Chicago, IL 60674-3249


                 Trane U.S. Inc.
                 45 Earhart Drive
                 Suite 103
                 Buffalo, NY 14221-7809


                 Tri-Delta Resources
                 15 North Street
                 Canandaigua, NY 14424


                 TruGreen Commercial
                 100 Mid County Drive
                 Orchard Park, NY 14127


                 Turf Tec of W.N.Y., Inc.
                 6095 Lockport Road
                 Lockport, NY 14094


                 U. S. Food Service, Inc. - Cash & Carry
                 136 Niagara Frontier Food Terminal
                 Buffalo, NY 14206


                 UB Sports Properties, LLC
                 UBSP c/o University of Buffalo
                 Division of Athletics
                 102 Alumni Area
                 Buffalo, NY 14260


                 Uline
                 P.O. Box 88741
                 Chicago, IL 60680-1741


                 Unicom Protection, Inc.
                 1806 East Avenue
                 Rochester, NY 14610


                 Unifirst Corporation
                 3999 Jeffrey Boulevard
                 Buffalo, NY 14219




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               Description: Main Document , Page 34 of 38
                 United Parcel Service
                 P.O. Box 809488
                 Chicago, IL 60680-9488


                 USCCB
                 P.O. Box 96429
                 Washington, DC 20090-6429


                 Valvoline Instant Oil Change
                 Buffalo Lube Associates LP
                 90 Earhart Drive, Suite 4
                 Williamsville, NY 14221


                 Veritas Polska, Inc.
                 13059 Ventura Boulevard
                 Studio City, CA 91604


                 Verizon
                 500 Technology Drive
                 Suite 500
                 Spring, MO 63304


                 Verizon
                 P.O. Box 15124
                 Albany, NY 12212-5124


                 Veteran's Seasonal Services
                 6138 Versailles Road
                 Lake View, NY 14085


                 Virco Manufacturing Corp.
                 P.O. Box 677610
                 Dallas, TX 75267-7610


                 Vitec Solutions, LLC
                 611 Jamison Road, Suite 4104
                 Elma, NY 14059


                 Waddell
                 P.O. Box 18
                 Greenfield, OH 45123


                 Walsh Duffield Companies, Inc.
                 801 Main Street
                 Buffalo, NY 14203

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               Description: Main Document , Page 35 of 38
                 Weaver Metal & Roofing Inc.
                 40 Appenheimer Avenue
                 Buffalo, NY 14214


                 Wegman's Food Markets, Inc.
                 P.O. Box 92217
                 Rochester, NY 14692-0217


                 West-Herr Automotive Group
                 P.O. Box 1998
                 Blasdell, NY 14219


                 Wilcro, Inc.
                 90 Earhart Drive, Suite 19
                 Williamsville, NY 14221


                 Will and Baumer
                 1013 Veterans Drive
                 Lewisburg, TN 37091


                 William J. Hirten Company, LLC
                 96 Frank Mossberg Drive
                 Attleboro, MA 02703


                 Windstream
                 P.O. Box 3177
                 Cedar Rapids, IA 52406


                 Windstream
                 P.O. Box 9001013
                 Louisville, KY 40290-1013


                 Wittburn Enterprises, Inc.
                 36 Cyprus Street
                 Buffalo, NY 14204


                 Wittburn Enterprises, Inc.
                 P.O. Box 1122
                 Buffalo, NY 14205


                 WIX.com, Inc.
                 500 Tery A Francois Blvd.
                 Floor 6
                 San Francisco, CA 94158-2230


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               Description: Main Document , Page 36 of 38
                 Woerner Industries, Inc.
                 485 Hague Street
                 Rochester, NY 14606


                 Xtreme Discount Mattress
                 3514 Delaware Avenue
                 Kenmore, NY 14217




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               Description: Main Document , Page 37 of 38
                                                                             FORM G
                                                               United States Bankruptcy Court
                                                                     Western District of New York
 In re      The Diocese of Buffalo, N.Y.                                                                    Case No.
                                                                                 Debtor(s)                  Chapter    11



                                                     DECLARATION RE: ELECTRONIC FILING OF
                                                      PETITION, SCHEDULES & STATEMENTS
PART I - DECLARATION OF PETITIONER
          I (WE) Charles Mendolera and                          , the undersigned debtor(s), hereby declare under penalty of
perjury that the information provided in the electronically filed petition, statements, and schedules is true and correct and
that I signed these documents prior to electronic filing. I consent to my attorney sending my petition, statements and
schedules to the United States Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to
be executed at the First Meeting of Creditors and filed with the Trustee. I understand that failure to file the signed original
of this DECLARATION may cause my case to be dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I
(we) further declare under penalty of perjury that I (we) signed the original Statement of Social Security Number(s),
(Official Form B21) prior to the electronic filing of the petition and have verified the 9-digit social security number displayed
on the Notice of Meeting of Creditors to be accurate.
                  If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a
chapter: I am aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the
relief available under each chapter, and choose to proceed under this chapter. I request relief in accordance with the
chapter specified in this petition. I (WE)        and     , the undersigned debtor(s), hereby declare under penalty of
perjury that the information provided in the electronically filed petition, statements, and schedules is true and correct.
                 If petitioner is a corporation or partnership: I declare under penalty of perjury that the information
provided in the electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf
of the debtor. The debtor requests relief in accordance with the chapter specified in this petition.
                  If petitioner files an application to pay filing fees in installments: I certify that I completed an application to
pay the filing fee in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition,
the bankruptcy case may be dismissed and, if dismissed, I may not receive a discharge of my debts.
 Dated:           February 28, 2020

 Signed:          /s/ Charles Mendolera
                  Charles Mendolera
                  (Applicant)                                                                (Joint Applicant)
PART II - DECLARATION OF ATTORNEY
        I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including
the Statement of Social Security Number(s), Official Form B21, before I electronically transmitted the petition, schedules,
and statements to the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders
and Administrative Procedures, including submission of the electronic entry of the debtor(s) Social Security number into
the Court's electronic records. If an individual, I further declare that I have informed the petitioner (if an individual) that [he
or she] may qualify to proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the relief
available under each chapter. This declaration is based on the information of which I have knowledge.
 Dated:           February 28, 2020                                                    /s/ Stephen A. Donato
                                                                                       Stephen A. Donato
                                                                                       Attorney for Debtor(s)

                                                                                       Address of Attorney
                                                                                       One Lincoln Center
                                                                                       Syracuse, NY 13202
                                                                                       (315) 218-8000 Fax:(315) 218-8100
                                                                                       sdonato@bsk.com




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